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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

UNITED STATES OF AMERICA                       )
                                               )      CRIMINAL NO. 1:18-CR-83
              v.                               )
                                               )      Trial Date: July 31, 2018
PAUL J. MANAFORT, JR.,                         )
                                               )      The Honorable T. S. Ellis, III
                                               )
               Defendant.                      )


                            GOVERNMENT’S RESPONSE TO THE
                              COURT’S JULY 25, 2018 ORDER

       On July 25, 2018, the Court issued an Order identifying thirty prospective jurors that

should “be excused or stricken for cause based on their responses to the questionnaire.” In that

same order, the Court invited the parties to file written objections if they disagree with the

excusing or striking of any of those jurors.

       Accordingly, pursuant to the Court’s Order, the government respectfully requests that the

Court not strike for cause the following jurors at this time: Jurors 0121, 0143, and 0154. Given

that each of these jurors affirmed that they would be able “decide the case fairly and impartially

based solely on the evidence presented and the Court’s instructions of law,” see Question 25(D),

the government believes any concerns the Court has as to their ability to be impartial would be

best addressed during voir dire. See, e.g., United States v. Lindh, 212 F.Supp.2d 541, 548 (E.D.

Va. 2002); United States v. Higgs, 353 F.3d 281, 307 (4th Cir. 2003); Irvin v. Dowd, 366 U.S.

717, 722-23 (1961).
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                                         Respectfully submitted,

                                         ROBERT S. MUELLER, III
                                         Special Counsel


                                   By:          /s/
Uzo Asonye                               Andrew Weissmann
Assistant United States Attorney         Greg D. Andres
Eastern District of Virginia             Brandon L. Van Grack
                                         Special Assistant United States Attorneys
                                         Special Counsel’s Office

                                         U.S. Department of Justice
                                         950 Pennsylvania Ave., NW
                                         Washington, DC 20530
                                         Phone: (202) 616-0800
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                                CERTIFICATE OF SERVICE
       I hereby certify that on the 26th day of July, 2018, I will cause to be filed electronically

the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:

Thomas E. Zehnle (VA Bar No. 27755)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
tezehnle@gmail.com


Jay R. Nanavati (VA Bar No. 44391)
Kostelanetz & Fink LLP
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
jnanavati@kflaw.com




                                                            /s/                     ____
                                                      Uzo Asonye
                                                      Assistant United States Attorney
                                                      U.S. Attorney’s Office
                                                      Eastern District of Virginia
                                                      2100 Jamieson Avenue
                                                      Alexandria, VA 22314
                                                      uzo.asonye@usdoj.gov
                                                      Phone: (703) 299-3700
                                                      Fax: (703) 299-3981

                                                      Attorney for the United States of America
